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 1   MARK J. REICHEL, State Bar #155034
     REICHEL & PLESSER L.L.P.
 2   455 CAPITOL MALL, 8th FLOOR, Suite 802
     Sacramento, California 95814
 3   Telephone: (916) 498-9258
 4   mark@reichellaw.com
     www.reichellaw.com
 5
     Attorney for Defendant
 6   BUENA MARSHALL
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            ) Case No. 11- 458 GEB
                                          )
12                    Plaintiff,          ) STIPULATION; ORDER THEREON
                                          )
13          v.                            ) Date: August 15, 2014
                                          ) Time: 9:00 a.m.
14                                        ) Judge: HONORABLE GARLAND E.
                                          )        BURRELL JR.
15   BUENA MARSHALL, et al.               )
                                          )
16                Defendant.
     __________________________
17
            IT IS HEREBY STIPULATED by and between the parties
18
     hereto through their respective counsel, MICHAEL BECKWITH,
19
     Assistant United States Attorney, attorney for Plaintiff, and
20
     MARK J. REICHEL, Esq., attorney for defendant Marshall, JAMES
21
     THOMAS RILEY, attorney for defendant Loudermilk, that the
22
     present date for the status hearing be re calendared for
23
     August 15, 2014 at 9:00 a.m. as recently substituted defense
24
     counsel Reichel needs the additional time to review
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     discovery, to meet and confer with his client and opposing
26
     counsel, and to factually investigate issues related to the
27
28   Stip
            Case 2:11-cr-00458-GEB Document 123 Filed 07/31/14 Page 2 of 3


 1   case which effect and bear upon the status conference
 2   currently set. Accordingly, all counsel and defendant agree
 3   that time under the Speedy Trial Act from the date this
 4   stipulation is lodged, through August 15, 2012 should be
 5   excluded in computing the time within which trial must
 6   commence under the Speedy Trial Act, pursuant to Title 18
 7   U.S.C. § 3161 (H)(7)(B)(iv) and Local Code T4.
 8          It is so stipulated.
 9   Dated: July 31, 2014
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                                        MARK J. REICHEL, ESQ.
11                                      /s/ Mark J. Reichel
                                        Attorney for Defendant Marshall
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13
                                        JAMES THOMAS RILEY, ESQ.
14                                      /S/ James T Riley
15                                      Attorney for defendant Loudermilk
16                                      BENJAMIN B. WAGNER
17                                      UNITED STATES ATTORNEY

18
                                        /s/ Michel Beckwith
19
                                        MICHAEL BECKWITH
20                                      Assistant U.S. Attorney
                                        Attorney for Plaintiff
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22           IT IS SO ORDERED.        For the reasons set forth above, the
23   court finds that there is GOOD CAUSE for the continuance and
24
     the exclusion of time, and that the ends of justice served by
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     this continuance outweigh the best interests of the public
26
27   and the defendant in a speedy trial.               Time is excluded
28   pursuant to 18 U.S.C. Section 3161(h)(7)(B)(iv) and Local

     Stip                                     2
            Case 2:11-cr-00458-GEB Document 123 Filed 07/31/14 Page 3 of 3


 1   Code T4.
 2
                      IT IS SO ORDERED.
 3
 4   Dated:     July 31, 2014
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 6
                                        GARLAND E. BURRELL, JR.
 7                                      Senior United States District
 8
                                        Judge

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     Stip                                     3
